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                EXHIBIT 52
             Case: 1:17-md-02804-DAP Doc #: 2379-2 Filed: 08/14/19 2 of 2. PageID #: 390106

  From:          Walker, Donald [/O=MCKESSON/OU=NORTH AMERICA/CN=RECIPIENTS/CN=743A9CA9)
  Sent:          5/8/2007 12:04:24 AM
  To:            Fragie, Jack [jack.fragie@rnckesson.com]; Dolan, Anthony [anthony.dolan@mckesson.com]; Reins, Janelle
                 Uanelle.reins@mckesson.com); Thompson, Sam [sa m. thompson@mckesson.com J; Sissier, Ed
                 [ed.bissler@mckesson.com]; Catton, Rex [rex.catton@mckesson.com ]; McKenna, Ned
                 [ned.mckenna@mckesson.com)
  Subject:       Lifestyle Drugs




  Jack and RNA Team: I wanted to advise you of a new process we have put into place in all DC's to monitor "Lifestyle
  Drugs" that are the focus of DEA related to internet pharmacies and other diversion. Beginning May 1 the DC's will get a
  report daily that identifies any customer/registrant who has purchased a monthly accumulative dosage quantity that
  exceeds 8000 dose units of any of the following generic base drugs

  Hydrocodone
  Oxycodone
  Phentermine
  Alprazolam

  The new process will require that the first time a customer exceeds that dose unit level we conduct a due diligence to
  ascertain if the basis of the those order quantities is justified . We have run the complete report for April and as would be
  expected many RNA customers had purchases for one of more of those drugs which exceeded the 8000 dose units. The
  facilitate the due diligence we need to conduct I want to go to the headquarters of the respective customers and obtain
  conformation that their pharmacies are dispensing these drugs based on prescriptions they receive. This will avert every
  DC calling the individual pharmacy. DEA does not view Natl Chains as the issue but in order to fulfill our commitment to
  DEA we need to conduct the diligence

  What I would like to do is get on a call with all of you very soon and go over this process with you and then arrange
  contact with headquarters who can provide the affirmation we need for our records. I ma not sure if you have a regularly
  scheduled call within the next week, if not I need to schedule one- perhaps this Friday. This is a rapidly moving issue
  which was accelerated by the ABC suspension last week

  Please let me know

  Don




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                        MCKMDL00535364
